Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 1 of 29 PageID #: 590




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


JEAN GAULDEN,                                       )
                                                    )
               Plaintiff,                           )
                                                    )
         vs.                                        )          Case No. 4:07CV01637 ERW
                                                    )
CITY OF DESLOGE, MISSOURI, et al.,                  )
                                                    )
               Defendants.                          )


                                  MEMORANDUM AND ORDER

          This matter comes before the Court on Defendants’ Motion for Summary Judgment [doc.

#50].1

I.        PROCEDURAL BACKGROUND

          On September 20, 2007, Plaintiff Jean Gaulden (“Plaintiff”) filed a lawsuit against the City

of Desloge, Missouri; St. Francois County, Missouri; Brandon Scherffius; Nathan Bentley; Gary

Gerstenschlager; and John Doe. The lawsuit arose out of the September 25, 2004 arrest of

Plaintiff. She filed her First Amended Complaint on December 8, 2008, asserting five counts: I)

violation of civil rights under 42 U.S.C. § 1983 and the Fourteenth Amendment, due to the use of

excessive and unreasonable force against Plaintiff by Defendant Scherffius, Defendant Bentley,

          1
        Defendants’ Motion for Summary Judgment [doc. #50] was filed by Attorney Mark
Zoole on behalf of Defendants City of Desloge, Brandon Scherffius, Nathan Bentley, St. Francois
County, and Gary Gerstenschlager. Subsequent to the filing of this Motion, Mr. Zoole filed a
Request to Withdraw as Counsel for Defendant Nathan Bentley [doc. #68], which this Court
granted on February 24, 2009 [doc. #75]. As a result of Mr. Zoole’s withdrawal, on April 2,
2009, this Court ordered Defendant Bentley to notify the Court as to whether he wished to join in
Defendants’ Motion for Summary Judgment. On April 7, 2009, this Court received
correspondence from Defendant Bentley which confirmed that he did want to join in the pending
Motion [doc. #88].
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 2 of 29 PageID #: 591




Defendant Gerstenschlager, and Defendant Doe, in their individual capacities; II) violation of civil

rights under 42 U.S.C. § 1983 and the Fourteenth Amendment against Defendant City of

Desloge, Missouri and Defendant St. Francois County, Missouri; III) violation of civil rights

under 42 U.S.C. § 1983 and the Fourth Amendment, due to unreasonable seizure, against

Defendant Scherffius, in his individual capacity; IV) respondeat superior liability for violation of

civil rights under 42 U.S.C. § 1983 against Defendant City of Desloge, Missouri and Defendant

St. Francois County, Missouri; and V) supplemental state law claims of assault and battery against

all Defendants. This Court granted Defendants’ Motion to Dismiss Count IV of Plaintiff’s First

Amendment Complaint on February 6, 2009 [doc. #54]. Additionally, on Plaintiff’s motion, this

Court dismissed all claims against Defendant John Doe and Defendant St. Francois County,

Missouri [Feb. 17, 2009 Docket Text Order]. Thus, the remaining Defendants at this point in the

case are the City of Desloge, Missouri, Brandon Scherffius, Nathan Bentley, and Gary

Gerstenschlager (collectively, “Defendants”) and the remaining counts against them are Counts I,

II, III and V. Defendants filed the pending Motion for Summary Judgment [doc. #50] on January

28, 2009.

II.    BACKGROUND FACTS2



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        The Court’s recitation of the facts is taken from Defendants’ Statement of
Uncontroverted Material Facts [doc. #51]; Plaintiff’s Statement of Material Facts in Which a
Genuine Issue Exists and Plaintiff’s Additional Undisputed Material Facts [doc. #61]; Plaintiff’s
Supplemental Undisputed Facts [doc. #73]; Defendants’ Reply Memorandum in Support of
Defendants’ Motion for Summary Judgment [doc. #76]; and Plaintiff’s Second Supplemental
Undisputed Material Facts [doc. #86]. The Court also considered the Affidavit of Jean Gaulden
[doc. #61-4]; the Deposition of Brandon Scherffius [doc. #61-3]; the Deposition of Nathan
Bentley [doc. #86-2]; the Mineral Area Regional Medical Center records [doc. #50-2]; the St.
Francois County Ambulance District records [doc. #61-7]; and photos taken by John Gaulden
[doc. #61-5]

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Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 3 of 29 PageID #: 592




       On September 25, 2004,3 Defendant Brandon Scherffius arrived at an address near

Plaintiff’s residence, in order to speak to Jason Adams and his girlfriend, Kathleen. Mr. Adams

told Defendant Scherffius that someone had placed feces in the seat of his truck. Defendant

Scherffius looked in the truck and observed that there was indeed feces on the seat. Defendant

Scherffius also noticed that there was feces in Plaintiff’s yard that appeared to be similar to the

feces that had been placed in Mr. Adams’ truck, so Defendant Scherffius went to the front door of

Plaintiff’s residence. When Plaintiff answered the door, Defendant Scherffius instructed her to

come outside of her home to speak with him. When asked why he wanted to speak with her,

Defendant Scherffius stated that he would explain if she stepped outside.

       The events that followed are heavily disputed and the affidavit of Plaintiff and the

deposition testimony of Defendant Scherffius demonstrate the conflict. Plaintiff states that

Defendant Scherffius grabbed her arm and pulled her from the front doorway of her home and on

to the front porch. She also asserts that he grabbed her arm a second time while she was on the

front porch. Defendant Scherffius, however, states that he did not grab Plaintiff’s arm and pull

her out of her house, rather, he claims that Plaintiff began cursing at him and violently slammed

the door shut after exiting.

       There is also a dispute regarding Plaintiff’s two German Shepherd dogs. Plaintiff states

that while Defendant Scherffius was pulling her out of her house, her dogs came out of the front

door and that she never gave any verbal commands to her dogs to attack or harm Defendant



       3
          In Plaintiff’s Additional Undisputed Material Facts [doc. #61], Plaintiff states, “Defendant
Scherffius arrived at the scene near Plaintiff’s residence on September 28, 2004.” (emphasis
added). This appears to be an error, as all other references to the date of the alleged abuse and
Plaintiff’s arrest are to September 25, 2004.

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Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 4 of 29 PageID #: 593




Scherffius. She further states that, once the dogs came outside, Defendant Scherffius walked

down the front steps and the dogs followed, trotting or jumping next to him as he backed away.

Defendant Scherffius, on the other hand, states that Plaintiff commanded her dogs to attack and

they came running out of the house toward him, and they chased him and were attacking him.

The parties agree that Plaintiff’s dogs were close enough to bite Defendant Scherffius, but they

did not actually bite him.

       The parties agree that Defendant Scherffius fired his gun at the dogs and hit one of them,

Stormy (who eventually died), but they disagree as to the necessity of the shooting. Plaintiff avers

that the dogs had stopped trotting and jumping next to Defendant Scherffius and that he was

several feet from the dogs when he fired the gun. She also states that the Desloge Police

Department issued pepper spray to Defendant Scherffius, but that he opted to use the gun instead

of the pepper spray.4 Defendant Scherffius, however, states that he ran away from the dogs until

he could run no further, and that he perceived the dogs as a threat to his safety and saw no

alternative means of protecting himself from them other than shooting.

       After the shots were fired, Plaintiff was arrested by Defendant Scherffius, although there is

another dispute regarding the circumstances of the arrest. Plaintiff states that she did not struggle

with Defendant Scherffius, as she was in fear after he had shot at her dogs. She states that he

jumped on her and placed her in handcuffs on the front porch, causing scrapes on and pain to her

knees. Defendant Scherffius states that he tried to place Plaintiff under arrest, but she physically




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        The Court notes that it is unclear whether Defendant Scherffius was actually carrying the
pepper spray on the day in question.

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Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 5 of 29 PageID #: 594




resisted via both flight and struggling. He avers that he used only the amount of force that was

reasonably necessary to complete the arrest.5

       After Defendant Scherffius had placed Plaintiff under arrest, Defendants Bentley and

Gerstenschlager arrived at Plaintiff’s residence. Plaintiff was escorted to Defendant Scherffius’s

patrol car and Defendant Scherffius drove her to the Desloge Police Department. Defendants

Bentley and Gerstenschlager also went to the Police Department. After they all arrived at the

Police Department, the events that unfolded again become highly disputed. Plaintiff states that

she was handcuffed with her hands behind her back and Defendant Scherffius placed her in a

holding cell, with the door left open. She states that Defendant Bentley grabbed her by her shirt,

pulled her out of the holding cell and kneed her in the stomach, causing her to fall to the ground

before he lifted her back up to her feet. During this time, Plaintiff states that Defendants

Scherffius and Gerstenschlager were watching and laughing. She further states that Defendant

Scherffius then punched her in the chest, causing her to fall backward onto the floor, where she

eventually rolled onto her stomach because she was having trouble breathing. She goes on to

state that while she was on her stomach, Defendants Scherffius, Bentley and Gerstenschlager hit

her in the back of her legs with their batons, and Defendant Scherffius kicked her in her side.




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         The Court notes that all of the aforementioned disputed events (the initial contact,
interaction with the dogs, and arrest of Plaintiff) are recorded on the video made by the mounted
camera on Defendant Scherffius’s police vehicle. Both parties cite to the video to support the
material facts that they set forth in their briefs. Defendants rely heavily on the video in their Reply
Brief, stating several times that “[t]he recording speaks for itself” or “the recording shows what
happened.” The Court disagrees with this characterization of the video recording. The events at
issue in this case are barely visible on the screen and there is no audio throughout most of the
pertinent parts. Upon viewing the recording, both the Plaintiff’s and Defendants’ interpretation of
the events depicted in the recording seem entirely plausible.

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Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 6 of 29 PageID #: 595




During this time, they were cursing at her continuously. She states that she was pulled back up to

her feet, at which point she lost consciousness.

        Defendants, on the other hand, state that Defendants Bentley and Gerstenschlager used no

force on Plaintiff and that Defendant Scherffius only used reasonable force during the arrest at

Plaintiff’s home, and not at the Police Department. According to Defendant Gerstenschlager, he

informed Plaintiff at the Desloge Police Department that he was transporting her to the county jail

and then he saw her lying on the floor, but he didn’t actually witness her faint. According to

Defendant Scherffius, he saw Defendant Gerstenschlager talking to Plaintiff at the Police

Department while she was in a holding cell and he knew that she fainted, but he did not remember

seeing her faint and didn’t recall: if the holding cell was closed and locked; if Plaintiff was in the

holding cell when she fainted; if he physically made contact with Plaintiff to lower her to the floor;

or where Defendant Gerstenschlager was when Plaintiff fainted. According to Chief of Police

James Bullock, he saw Plaintiff lying on the floor outside the holding cell, but didn’t see how she

got to the floor. According to Defendant Bentley, he was present at the Desloge Police

Department, but he did not remember: if there were any other police officers there or if Chief

Bullock was there when he arrived; if the other officers and Chief Bullock arrived after he was

present; if Defendant Gerstenschlager was there; if anyone lowered Plaintiff to the floor; if

Plaintiff fainted; if he spoke to Plaintiff at the Police Department; if he called the EMT; where he

was when the EMT provided treatment to Plaintiff; if he spoke to the EMT; how long he was at

the Police Department before the EMT arrived; or if he saw Plaintiff in the holding cell.

        The St. Francois County Ambulance District was called to the Desloge Police Department

to attend to Plaintiff. Robert McFarland, an EMT, responded to the call and treated Plaintiff. Mr.


                                                   6
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 7 of 29 PageID #: 596




McFarland stated that an unidentified police officer told him that Plaintiff was being walked out to

a police car for transport to the county jail when she passed out. He also observed that Plaintiff

had dried blood on her hands. The St. Francois County Ambulance District records state that

when Plaintiff began to wake up, she wanted to know what was going on because she couldn’t

remember what had happened. The records also state that Plaintiff complained of pain to her

lower leg and her abdomen, where she claimed to have been kicked by the police. The records

also stated that there were no obvious signs of injury to Plaintiff’s abdomen and that there was a

very superficial scrape on her lower right leg.

        Plaintiff and Defendants have different opinions regarding the severity of the injuries

suffered by Plaintiff, although both cite to the Mineral Area Regional Medical Center records to

support their argument. These records reflect that, while at the hospital, Plaintiff complained of

leg, knee, and abdominal pain, as a result of being kneed in the stomach and kicked by a police

officer. The records noted that abrasions were observed on Plaintiff’s right knee and left shin, but

no mention is made of abdominal injuries, outside of Plaintiff’s complaint of pain. There is

nothing in the Medical Center records regarding pain or injury to the back of Plaintiff’s legs, but

Plaintiff submitted photos taken on September 25, 2004, depicting large bruises on the back of

Plaintiff’s upper legs.6 Plaintiff also asserts that, as a result of the incident, she suffered mental


        6
         Defendants contest the admissibility of the photographs of Plaintiff’s legs, arguing that
“[n]othing competently establishes any foundation for the purported photographs, including [the]
date and identity of the subject in them, much less when the condition depicted in them was first
caused, or by what means.” (Defs. Reply Brief, doc. #76, pg. 6). However, Defendants fail to
account for the signed and sworn affidavit of John Gaulden that was submitted with the
photographs. “In order to be admissible, a photograph must be shown to be an accurate
representation of the thing depicted as it appeared at the relevant time.” Schmidt v. City of Bella
Villa, 557 F.3d 564, 569 (8th Cir. 2009) (citing United States v. Stierwalt, 16 F.3d 282, 286 (8th
Cir. 1994)). Mr. Gaulden has made a sworn statement regarding when the photographs were

                                                    7
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 8 of 29 PageID #: 597




and emotional injuries that required treatment by medical professionals. Defendants, however,

dispute the necessity of the treatment and deny any connection between their conduct and

Plaintiff’s alleged mental and emotional injuries.

        The parties disagree regarding whether Plaintiff had been drinking alcohol on the day of

the incident in question. Defendants point to the Mineral Area Regional Medical Center records,

which provide that Plaintiff’s Specimen Report found “118 MG/DL of alcohol, ethanol.” The

records also note in several places that Plaintiff smelled of alcohol. Defendants also cite to the St.

Francois County Ambulance District records, which state that there was a strong smell of alcohol

on Plaintiff’s breath. Plaintiff, however, denies that she was drinking, but offers no alternative

explanation for the alcohol smell or the presence of alcohol in her blood on the day of the

incident.

        As of September 25, 2004, Defendants Gerstenschlager, Bentley, and Scherffius had all

completed full academy training as law enforcement officers, and maintained all continuing law

enforcement education training sessions consistent with their certification requirements as

Missouri law enforcement officers. There is no evidence that, as of September 25, 2004, there

was any pattern or practice of excessive force by St. Francois County deputies or by Desloge

police officers.

        Chief James Bullock of the Desloge Police Department makes policies and procedures for

Desloge police officers to follow. Neither Defendant Scherffius, nor Defendant Bentley, nor


taken and who appears in the photographs, and stating that they are accurate copies. This is
sufficient to prove admissibility. Defendants’ additional arguments regarding the veracity of the
pictures and contradictions to the hospital records are credibility and factual issues that are to be
left for the finder of fact, and which are not to be addressed by the Court at this stage in the
proceedings.

                                                     8
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 9 of 29 PageID #: 598




Defendant Gerstenschlager have ever made, or been empowered to make, policy decisions for the

Desloge Police Department. At the time of the incident in this case, there existed a Desloge

Police Department Manual, which was adopted by the City of Desloge Board of Aldermen.

Defendants Scherffius and Bentley were given copies of the Manual when they were hired as

police officers for the City of Desloge. The Manual provides that the Chief of Police has the

authority to make rules and policies without the approval of the Board of Aldermen. The Manual

also sets forth disciplinary procedures and actions governing Desloge police officers. The Manual

in effect at the time of the events in question provided that the following disciplinary actions could

be taken: (A) oral reprimand; (B) written reprimand; (C) demerits; (D) suspension without pay;

(E) demotion; (F) dismissal; (G) criminal prosecution.

       On December 15, 2003, Defendant Scherffius was issued a letter of reprimand for

inattention to duty for failing to turn in daily activity logs. The letter warned that any further

violations of that nature would force Chief James Bullock to go to the next step on the

disciplinary scale (the disciplinary actions listed in the Desloge Police Department Manual). On

January 5, 2004, Defendant Scherffius was issued another letter of reprimand for inattention to

duty for failing to turn in daily activity logs. The letter placed Defendant Scherffius on probation

for six months beginning January 8, 2004, and warned that any further violations of that nature

would force Chief Bullock to go to the next step in the disciplinary scale. Probation is not listed

as a disciplinary action in the Desloge Police Department Manual. On April 8, 2004, Defendant

Scherffius was issued a letter of reprimand regarding the cleanliness of his car, particularly that

the trunk of the vehicle contained evidence that had been left there for awhile. Although

Defendant Scherffius was on probation at the time this letter was written, Chief Bullock only gave


                                                   9
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 10 of 29 PageID #: 599




Defendant Scherffius a written reprimand. When asked to explain this decision, Chief Bullock

stated that it was his personal choice. He also stated that, in his opinion, leaving evidence in the

trunk would be a serious violation if the case were to go to trial. On January 3, 2005, Defendant

Scherffius was issued another written reprimand regarding the cleanliness of his car and failure to

properly handle, care for, and dispose of evidence in a proper manner, particularly, Chief Bullock

found a bottle half full of vodka in the trunk. Although the written reprimand was for actions by

Defendant Scherffius regarding evidence that were similar to the actions relating to the April 8,

2004 letter of reprimand, Chief Bullock only gave Defendant Scherffius another written

reprimand, explaining that it was his personal decision to do so. On February 22, 2005,

Defendant Scherffius was issued a letter of reprimand for failing to appear in court after being

issued subpoenas to do so. Chief Bullock stated that there was “no decision” in only issuing a

written reprimand, and not a more severe disciplinary action for the incident. On May 25, 2005,

Defendant Scherffius was issued a written warning for failing to serve and enforce complaints and

ordinance violations. The written warning stated that any further violation would result in the

next step on the disciplinary scale. On February 9, 2006, Defendant Scherffius was issued a

written warning for failing to follow a direct order and failure to complete an assigned task or

duty relating to fingerprint cards. The written warning stated that any future failure to follow a

direct order or failure to complete an assigned task or duty would result in the next step on the

disciplinary scale. On February 9, 2006, Defendant Scherffius was issued another written warning

for failing to submit reports in a timely manner and failure to carry out a direct order. This second

February 9, 2006 written warning stated that any future failure to submit reports in a timely

manner or failure to carry out a direct order would result in the next step on the disciplinary scale.


                                                 10
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 11 of 29 PageID #: 600




       On April 12, 2003, Defendant Bentley was issued a written warning for failing to submit

reports in a timely manner. The written warning stated that any future failure to submit reports in

a timely manner would result in the next step on the disciplinary scale. On April 18, 2003,

Defendant Bentley was issued another written warning for failing to submit a report in a timely

manner. The written warning stated that any future failure to submit reports in a timely manner

would result in a written reprimand. On July 12, 2003, Defendant Bentley was issued a written

warning for failing to submit reports in a timely manner. The written warning stated that any

future failure to submit reports in a timely manner would result in harsher disciplinary action. On

August 1, 2003, Defendant Bentley was suspended two days without pay for lying to Chief

Bullock. In making the decision to suspend Defendant Bentley, Chief Bullock stated that he did

not take into consideration any prior written warnings or reprimands issued to Defendant Bentley.

On December 15, 2003, Defendant Bentley was issued a letter of reprimand for inattention to

duty for failing to turn in daily activity logs. The letter of reprimand warned that any further

violations of that nature would force Chief Bullock to go to the next step in the disciplinary scale.

Despite Defendant Bentley’s history of receiving written reprimands for failing to turn in reports,

Chief Bullock only issued another written reprimand on December 15, 2003. When asked why he

didn’t issue more severe punishment, Chief Bullock stated that it was his personal decision. On

February 11, 2004, Defendant Bentley was suspended five days without pay for misinforming

Chief Bullock. In making the decision to suspend Defendant Bentley, Chief Bullock stated that he

did not take into consideration any of the prior incidents involving Defendant Bentley. On April

8, 2004, Defendant Bentley was issued a letter of reprimand regarding the cleanliness of his car,

particularly, the truck of the vehicle contained evidence that had been left there for a while. On


                                                 11
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 12 of 29 PageID #: 601




January 3, 2005, Defendant Bentley was issued another letter of reprimand regarding the

cleanliness of his car and failure to properly handle, care for, and dispose of evidence in a proper

manner, particularly, Chief Bullock found a bottle half full of vodka in the trunk. Although the

January 3, 2005 written reprimand was for actions by Defendant Bentley regarding evidence that

were similar to the actions relating to the April 8, 2004 letter of reprimand, Chief Bullock only

gave Defendant Bentley another written reprimand, stating that it was his personal decision.

       Batons are kept at the Desloge Police Department, in an equipment room. The Police

Department provides a police officer with a baton when the officer is hired, if that officer elects to

carry a baton. Both Defendants Scherffius and Bentley carried batons while on duty as a Desloge

Police Department police officer. Defendant Bentley was carrying his baton on September 25,

2004; Defendant Scherffius did not recall if he was carrying his baton when he went to Plaintiff’s

house on that date. No one with the Desloge Police Department provided any training regarding

the use of batons to either Defendant Scherffius or Defendant Bentley, however, officers were

required to undergo baton certification training at the police academy. The Desloge Police

Department Manual provides no written policies or procedures regarding the use of the baton, but

the Manual does forbid excessive or unreasonable force with any weapon. The Desloge Police

Department provides its police officers with a gun when they are hired and trains its police

officers on the use of a gun at the Desloge firing range.

III.   LEGAL STANDARD

       Pursuant to Federal Rule of Civil Procedure 56(c), a court may grant a motion for

summary judgment only if all of the information before the court shows that “there is no genuine

issue as to any material fact and that the moving party is entitled to a judgment as a matter of


                                                 12
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 13 of 29 PageID #: 602




law.” Fed. R. Civ. P. 56(c); see Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The

Supreme Court has noted that “[s]ummary judgment procedure is properly regarded not as a

disfavored procedural shortcut, but rather as an integral part of the Federal Rules as a whole,

which are designed to ‘secure the just, speedy and inexpensive determination of every action.’” Id.

at 327 (quoting Fed. R. Civ. P. 1). “By its very terms, [Rule 56(c)(1)] provides that the mere

existence of some alleged factual dispute between the parties will not defeat an otherwise properly

supported motion for summary judgment; the requirement is that there be no genuine issue of

material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). Material facts are

those “that might affect the outcome of the suit under the governing law,” and a genuine material

fact is one “such that a reasonable jury could return a verdict for the nonmoving party.” Id. at

248. Further, if the nonmoving party has failed to “make a showing sufficient to establish the

existence of an element essential to that party’s case, . . . there can be ‘no genuine issue as to any

material fact,’ since a complete failure of proof concerning an essential element of the nonmoving

party’s case necessarily renders all other facts immaterial.” Celotex, 477 U.S. at 322-23.

        The initial burden of proof in a motion for summary judgment is placed on the moving

party to establish “the non-existence of any genuine issue of fact that is material to a judgment in

his favor.” City of Mt. Pleasant, Iowa v. Associated Elec. Co-op., Inc., 838 F.2d 268, 273 (8th

Cir. 1988). Once this burden is discharged, if the record does in fact bear out that no genuine

dispute exists, the burden then shifts to the nonmoving party who must set forth affirmative

evidence and specific facts showing there is a genuine dispute on that issue. Anderson, 477 U.S.

at 250; Fed. R. Civ. P. 56(e)(2). When the burden shifts, the nonmoving party may not rest on

the allegations in its pleadings, but, by affidavit and other evidence, must set forth specific facts


                                                  13
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 14 of 29 PageID #: 603




showing that a genuine issue of material fact exists. Fed. R. Civ. P. 56(e); Stone Motor Co. v.

Gen. Motors Corp., 293 F.3d 456, 465 (8th Cir. 2002). To meet its burden, the nonmoving party

must “do more than simply show that there is some metaphysical doubt as to the material facts.”

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). In fact, the

nonmoving party must show there is sufficient evidence favoring the nonmoving party which

would enable a jury to return a verdict for it. Anderson, 477 U.S. at 249; Celotex, 477 U.S. at

334. “If the non-moving party fails to produce such evidence, summary judgment is proper.”

Olson v. Pennzoil Co., 943 F.2d 881, 883 (8th Cir. 1991).

       The Court may not “weigh the evidence in the summary judgment record, decide

credibility questions, or determine the truth of any factual issue.” Kampouris v. St. Louis

Symphony Soc., 210 F.3d 845, 847 (8th Cir. 2000). The Court instead “perform[s] only a

gatekeeper function of determining whether there is evidence in the summary judgment record

generating a genuine issue of material fact for trial on each essential element of a claim.” Id.

IV.    DISCUSSION

       A.      EXCESSIVE FORCE CIVIL RIGHTS CLAIM AGAINST DEFENDANTS
               SCHERFFIUS, BENTLEY, AND GERSTENSCHLAGER, AS
               INDIVIDUALS (COUNT I)

       In Count I of her First Amended Complaint, Plaintiff alleges that Defendants Scherffius,

Bentley, and Gerstenschlager used excessive and unreasonable force against her. In her

Memorandum in Opposition to Defendants’ Motion for Summary Judgment, Plaintiff clarifies that

she “asserts her claim of excessive force against the Defendants on the events that occurred at

Desloge Police Department.”




                                                 14
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 15 of 29 PageID #: 604




       The Eighth Circuit has established that excessive force claims which arise during the “legal

twilight zone” between arrest and sentencing should be analyzed under the Fourth Amendment

standards that apply during the act of the arrest. Wilson v. Spain, 209 F.3d 713, 715-16 (8th Cir.

2000) (citing Moore v. Novak, 146 F.3d 531, 535 (8th Cir. 1998)). Fourth Amendment excessive

force claims are analyzed “under a reasonableness standard to determine whether, in light of the

facts and circumstances, the officer’s actions were objectively reasonable.” Gill v. Maciejewski,

546 F.3d 557, 562 (8th Cir. 2008) (citing Graham v. Connor, 490 U.S. 386, 396 (1989)).

“Determining whether the force used to effect a particular seizure is reasonable under the Fourth

Amendment requires a careful balancing of the nature and quality of the intrusion on the

individual’s Fourth Amendment interests against the countervailing governmental interests at

stake.” Graham, 490 U.S. at 396 (internal quotations and citations omitted). The Court must

consider factors such as the severity of the suspected crime, whether the suspect poses an

immediate threat to the safety of the officer or others, and whether he is actively resisting or

attempting to evade arrest. Id. Further, the determination of reasonableness must allow for the

fact that “police officers are often forced to make split-second judgments- in circumstances that

are tense, uncertain, and rapidly evolving- about the amount of force that is necessary in a

particular situation.” Gill, 546 F.3d at 562 (citing Graham, 490 U.S. at 396-97).

This inquiry is objective, questioning “whether the officers’ actions are ‘objectively reasonable’ in

light of the facts and circumstances confronting them, without regard to their underlying intent or

motivation.” Graham, 490 U.S. at 397.

       The Court finds that a genuine issue of material fact exists with respect to Plaintiff’s claim

of excessive use of force. Without considering the credibility of the witnesses or the truth of any


                                                  15
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 16 of 29 PageID #: 605




factual issue, this Court cannot determine whether Defendants Scherffius, Bentley, and

Gerstenschlager actually engaged in the physical abuse alleged by Plaintiff, and whether any force

that was used was reasonable under the circumstances. Plaintiff states in her sworn affidavit that

the alleged abuse did take place at the Desloge Police Department on September 25, 2004, while

Defendants each state in their sworn affidavits that no such abuse ever took place. Because there

is the existence of this factual dispute regarding whether any abuse took place, this Court is

unable to determine whether the officers used excessive or unreasonable force at this stage in the

proceedings.

       Defendants argue that Plaintiff’s excessive force claim must fail because she suffered no

significant physical injury as a result of the alleged physical abuse. Although “[i]t remains an open

question in this circuit whether an excessive force claim requires some minimum level of injury, a

de minimus use of force or injury is insufficient to support a finding of a constitutional violation.”

Crumley v. City of St. Paul, Minn., 324 F.3d 1003, 1007 (8th Cir. 2003) (alteration in original;

internal citations and quotations omitted). Another factual dispute exists regarding the severity of

the injuries suffered by Plaintiff. The Mineral Area Regional Medical Center Records clearly

establish that Plaintiff had abrasions on her legs and was complaining of abdominal pain, with no

clear abdominal injury. However, Plaintiff additionally claims to have suffered large bruises on

the back of her legs and mental and emotional injuries. Defendants, for their part, dispute the

existence of any bruises and contest the veracity of the photographs depicting the bruises. They

also dispute the existence and severity of any mental and emotional injuries caused by Defendants

Scherffius, Bentley, and Gerstenschlager. Without resolving these factual issues, the Court




                                                  16
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 17 of 29 PageID #: 606




cannot come to a conclusion regarding whether Plaintiff’s injuries are sufficient to support an

excessive force claim.

        Defendants additionally argue that Defendants Scherffius, Bentley, and Gerstenschlager

are entitled to qualified immunity. “The doctrine of qualified immunity protects government

officials ‘from liability for civil damages insofar as their conduct does not violate clearly

established statutory or constitutional rights of which a reasonable person would have known.’”

Pearson v. Callahan, 129 S. Ct. 808, 815 (2009) (quoting Harlow v. Fitzgerald, 457 U.S. 800,

818 (1982)). Prior to the United States Supreme Court’s ruling in Pearson, courts “employ[ed] a

two-step process when considering an officer’s claim of qualified immunity.” Moore v. Indehar,

514 F.3d 756, 759 (8th Cir. 2008). The first inquiry was “whether the officer’s conduct violated a

constitutional right.” Id. If so, the second inquiry was “whether the right was clearly established

at the time of the deprivation such that a reasonable official would understand his conduct was

unlawful in the situation he confronted.” Vaughn v. Greene Co., 438 F.3d 845, 850 (8th Cir.

2006). Pearson, however, established that a court considering whether qualified immunity applies

may determine whether there was a violation of clearly established law “before turning to the

more difficult question[,] whether the relevant facts make out a constitutional question at all.”

Pearson, 129 S. Ct. at 818-22.

        Although the issue of qualified immunity is commonly resolved on summary judgment,

“[t]his does not mean . . . that courts may always decide questions of qualified immunity on

summary judgment.” Arnott v. Mataya, 995 F.2d 121, 124 (8th Cir. 1993). In Arnott, a wrongful

arrest case, the Eighth Circuit upheld the lower court’s decision to deny the officer’s motion for

summary judgment, based on qualified immunity. The Eighth Circuit found that

                                                  17
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 18 of 29 PageID #: 607




        [i]f the arrestee challenges the officer’s description of the facts and presents a factual
        account where a reasonable officer would not be justified in making an arrest, then a
        material dispute of fact exists. Where there is a genuine issue of material fact
        surrounding the question of plaintiff’s conduct, we cannot determine, as a matter of
        law, what predicate facts exist to decide whether or not the officer’s conduct clearly
        violated established law.


Id. (citing Gainor v. Rogers, 973 F.2d 1379, 1384-85 (8th Cir. 1992)). Although Arnott deals

specifically with a factual dispute over the plaintiff’s conduct at the time of his arrest, the same

principles should apply when there is a factual dispute over the conduct of defendant police

officers. In this case, Plaintiff has set forth a set of facts directly contradicting the facts alleged by

Defendants. Under Plaintiff’s set of facts, it is possible that Defendant Scherffius, Defendant

Bentley, or Defendant Gerstenschlager, or any combination of these three officers, engaged in

conduct which violated a clearly established constitutional or statutory right of which a reasonable

person would have known. Thus, the issue of qualified immunity cannot be resolved on summary

judgment.

        In sum, genuine issues of material fact exist with respect to Plaintiff’s claim of excessive

use of force. As a result, Defendants’ Motion for Summary Judgment on Count I of Plaintiff’s

First Amended Complaint must be denied.

        B.      CIVIL RIGHTS CLAIM AGAINST DEFENDANT CITY OF DESLOGE,
                MISSOURI (COUNT II)

        In Count II of her First Amended Complaint, Plaintiff sets forth three alternative bases of

liability against Defendant City of Desloge, Missouri: delegation of authority; failure to train,

supervise, and control; and pattern of transgressions. However, in her Memorandum in

Opposition to Defendants’ Motion for Summary Judgment, Plaintiff states that she has abandoned


                                                   18
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 19 of 29 PageID #: 608




her claims of delegation of authority and pattern of transgressions, leaving only her failure to

train, supervise, and control claim as Plaintiff’s basis for liability against Defendant City of

Desloge. Specifically, Plaintiff asserts that Defendant City of Desloge failed to properly train its

officers on the use of the baton and, separately, that Defendant City of Desloge failed to properly

supervise, discipline and control its officers.

        Municipalities cannot be liable “under § 1983 on a respondent superior theory.” Monell v.

Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978). However, liability can exist where a “policy or

custom is the moving force behind a constitutional violation” or where training procedures or

officer supervision is inadequate. See Wedemeier v. City of Ballwin, Mo., 931 F.2d 24, 26 (8th

Cir. 1991); Larkin v. St. Louis Housing Auth. Dev. Corp., 355 F.3d 1114, 1117 (8th Cir. 2004).

                1.      Failure to Properly Train

        “[T]he inadequacy of police training may serve as the basis for § 1983 liability only where

the failure to train amounts to deliberate indifference to the rights of persons with whom the

police come into contact.” City of Canton, Ohio v. Harris, 489 U.S. 378, 388 (1989). In order

to establish deliberate indifference, the plaintiff must demonstrate that the municipality “‘had

notice that its procedures were inadequate and likely to result in a violation of constitutional

rights.’” Larson by Larson v. Miller, 76 F.3d 1446, 1454 (8th Cir. 1996) (quoting Thelma D. by

Dolores A. v. Bd. of Educ., 934 F.2d 929, 934 (8th Cir. 1991)). The plaintiff may demonstrate

notice in two different ways: (1) “show that the failure to train employees is so likely to result in a

violation of constitutional rights that the need for training is patently obvious,” or (2) show that “a

pattern of misconduct indicates that the [municipality’s] responses to a regularly recurring



                                                   19
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 20 of 29 PageID #: 609




situation are insufficient to protect the [citizens’] constitutional rights.” S.J. v. Kansas City Mo.

Pub. Sch. Dist., 294 F.3d 1025, 1029 (8th Cir. 2002).

        In this case, Plaintiff’s failure to train claim is not based on a pattern of misconduct.

Rather, she asserts that Defendant City of Desloge should have recognized the need for training

its police officers on the use of the baton, in order to prevent potential violations of citizens’

constitutional rights. The material facts relevant to Plaintiff’s failure to train claim are not in

dispute. Defendants agree that the Desloge Police Department Manual provides no written

policies or procedures regarding the use of the baton and that no one with the Desloge Police

Department provided any training regarding the use of batons to either Defendant Scherffius or

Defendant Bentley. They point out, however, that all officers, including Defendants Scherffius

and Bentley, were required to undergo baton certification training at the police academy. They

also emphasize that the Manual does specifically forbid excessive or unreasonable force with any

weapon.

        Even assuming an underlying constitutional violation by any of the officer Defendants,

Plaintiff has not set forth any evidence that would suggest that Defendant City of Desloge had

notice that its training program was constitutionally deficient or that there was a need to provide

additional training to Defendants Scherffius or Bentley on the use of the baton. Plaintiff clearly

established that Defendant City of Desloge does not have a policy specifically regarding batons

and does not train its officers specifically on the use of batons (outside of the training they

received at the police academy). However, Plaintiff failed to establish why the lack of policies and

additional training on this particular piece of equipment should have raised a red flag to Defendant

City of Desloge that there was a recurring potential for constitutional violations. See Szabla v.

                                                   20
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 21 of 29 PageID #: 610




City of Brooklyn Park, Minn., 486 F.3d 385, 393 (8th Cir. 2007) (municipality can be liable for a

single violation of constitutional rights when “accompanied by a showing that the municipality

failed to train its employees to handle recurring situations presenting an obvious potential for such

a violation”). Defendant City of Desloge, at a minimum, had established policies that specifically

prohibited the use of excessive and unreasonable force. It was reasonable for the Defendant City

to believe that this policy and any accompanying training was sufficient to prevent constitutional

violations like the one alleged by Plaintiff. It cannot be said that the need for additional training

was patently obvious or that Defendant City of Desloge was deliberately indifferent.

        Further, it is not clear from the facts alleged by Plaintiff that the training provided by

Defendant City of Desloge was in any way inadequate or deficient. Plaintiff focuses exclusively

on the lack of policies and training specifically regarding the use of the baton, but fails to account

for Defendant City of Desloge’s written policy clearly prohibiting the use of excessive or

unreasonable force with any weapon. The real cornerstone of Plaintiff’s complaint is that

Defendants Scherffius and Bentley used their batons to engage in excessive and unreasonable

force against Plaintiff, and not that they did not know how to properly use their batons. If

Plaintiff’s version of the facts is true and the alleged physical abuse did take place, it appears that

it was not the lack of training that caused the attack, rather it was a blatant disregard for the

clearly established policies of the City of Desloge.

        Thus, summary judgment in favor of Defendants is proper on Plaintiff’s failure to train

claim under Count II of her First Amended Complaint.




                                                  21
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 22 of 29 PageID #: 611




                2.      Failure to Properly Supervise, Discipline, and Control

        Municipalities may be liable under 42 U.S.C. § 1983 if they fail to properly supervise an

employee who causes a deprivation of constitutional rights. See Andrews v. Fowler, 98 F.3d

1069, 1078 (8th Cir. 1996). “The standard of liability for failure to supervise is demonstrated

deliberate indifference or tacit authorization of the offensive acts.” Tilson v. Forrest City Police

Dept., 28 F.3d 802, 807 (8th Cir. 1994). Tacit authorization is present where a plaintiff shows

“‘that the official at least implicitly authorized, approved[,] or knowingly acquiesced in the

unconstitutional conduct of the offending employees.’” Shorts v. Bartholomew, 255 F.App’x 46,

54 (6th Cir. 2007) (quoting Leach v. Shelby County Sheriff, 891 F.2d 1241, 1246 (6th Cir. 1989))

(alteration in original). Conversely, deliberate indifference is shown where a plaintiff presents

evidence “that a municipal actor disregarded a known or obvious consequence of his action [or

inaction].” Board of Comm’rs of Bryan County v. Brown, 520 U.S. 397, 410 (1997).

        In this case, it is clear that Defendant City of Desloge did not tacitly authorize the alleged

unconstitutional conduct. Rather, Plaintiff asserts that Defendant City of Desloge was

deliberately indifferent in its supervision, discipline, and control of its police officers. Again, the

relevant facts are not in dispute. Defendants agree that both Defendant Scherffius and Defendant

Bentley received multiple written reprimands for various types of misconduct, including failure to

submit reports in a timely manner, inattention to duty, cleanliness of car, and failure to properly

handle evidence. Defendant Scherffius was also reprimanded for failure to appear in court, failure

to serve and enforce complaints and ordinance violations, and failure to follow a direct order.

Defendant Bentley was also reprimanded for lying and misinforming the Chief of Police. It is

undisputed that Chief of Police James Bullock did not always punish the misconduct of

                                                   22
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 23 of 29 PageID #: 612




Defendants Scherffius and Bentley according to the disciplinary scale set forth in the Desloge

Police Department Manual or according to the warnings he had made in previous written

reprimands. However, none of the misconduct for which Defendants Scherffius or Bentley were

reprimanded is similar to the unconstitutional acts alleged by Plaintiff. None of the reprimands

dealt with any kind of use of force at all, let alone excessive or unreasonable force. Thus, it

cannot be said that the alleged abuse of Plaintiff was a “known or obvious consequence” of Chief

Bullock’s inconsistent punishments. Board of Comm’rs of Bryan County, 520 U.S. at 410; see

also Ratliff v. City of Columbia, 205 F.3d 1347, at *1 (8th Cir. 1999) (table) (failure to discipline

claim fails where prior complaints did not involve similar unconstitutional conduct); Walls v.

Bradford, 2008 WL 312887, at *6 (E.D. Mo. 2008) (failure to discipline claim fails where prior

allegations of misconduct were not sufficiently similar to alleged unconstitutional actions).

Defendant City of Desloge was not deliberately indifferent, thus, Plaintiff’s failure to properly

supervise, discipline and control claim fails and summary judgment is proper.

          This Court finds that summary judgment is proper on Plaintiff’s civil rights claim against

Defendant City of Desloge (Count II of Plaintiff’s Amended Complaint).

       C.   UNREASONABLE SEIZURE CIVIL RIGHTS CLAIM AGAINST
       DEFENDANT SCHERFFIUS, AS AN INDIVIDUAL (COUNT III)


       In Count III of her First Amended Complaint, Plaintiff alleges that Defendant Scherffius

violated her Fourth Amendment rights by unreasonably seizing her property, specifically her dog

Stormy.




                                                  23
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 24 of 29 PageID #: 613




       The Fourth Amendment prohibits unreasonable searches and seizures. Graham v.

Connor, 490 U.S. 386, 395 (1989). The Eighth Circuit has clearly established that a person’s pet

is considered to be property for the purpose of the Fourth Amendment. Andrews v. City of West

Branch, Iowa, 454 F.3d 914, 918 (8th Cir. 2006). “‘A seizure of property occurs when there is

some meaningful interference with a person’s possessory interests in that property.’” Id. (quoting

Lesher v. Reed, 12 F.3d 148, 150 (8th Cir. 1994)). Such a seizure is unconstitutional if it is

unreasonable and reasonableness is “judged from the perspective of a reasonable officer; it does

not turn on the subjective intent of the officer.” Id. “‘When the state claims a right to make a

warrantless seizure, [the court] must balance ‘the nature and quality of the intrusion on the

individual’s Fourth Amendment interest against the importance of the governmental interests

alleged to justify the intrusion.’” Id. (quoting Altman v. City of High Point, N.C., 330 F.3d 194,

205 (4th Cir. 2003)). The Eighth Circuit has specifically recognized that “an officer commits an

unreasonable warrantless seizure of property, in violation of the Constitution, when he shoots and

kills an individual’s family pet when that pet presented no danger and when non-lethal methods of

capture would have been successful.” Id. (citing Brown v. Muhlenberg Twp., 269 F.3d 205, 210-

11 (3d Cir. 2001); Fuller v. Vines, 36 F.3d 65, 68 (9th Cir. 1994)).

       The Court finds that a genuine issue of material fact exists with respect to whether

Plaintiff’s dogs threatened the safety of Defendant Scherffius and whether there were any non-

lethal alternatives available to Defendant Scherffius. Defendant Scherffius asserts that he was

being attacked by Plaintiff’s dogs and that he had no choice but to fire shots at them. Plaintiff, on

the other hand, asserts that her dogs were merely trotting beside Defendant Scherffius, that the

dogs were several feet away from him when he fired the shots, and that he had reasonable

                                                 24
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 25 of 29 PageID #: 614




alternative means of handling the situation. Further, although there is a video of this incident

taken from Defendant Scherffius’s police vehicle, the relevant events are barely visible on the

screen and there is no audio during the pertinent parts. The video does not clarify what happened

on the day in question, nor does it “utterly discredit[]” or “blatantly contradict[]” either of the

parties’ versions of the facts. Scott v. Harris, 550 U.S. 372, 380-81 (2007) (finding that there

was no genuine issue of material fact when there was a videotape that clearly discredited one

party’s version of the events). Because of the existence of this factual dispute, this Court is

unable to determine whether Plaintiff should prevail on her unreasonable seizure claim at this

stage in the proceedings.

       Again, Defendant Scherffius asserts that he is entitled to qualified immunity with respect

to Plaintiff’s unreasonable seizure claim. As set forth above, “[t]he doctrine of qualified immunity

protects government officials ‘from liability for civil damages insofar as their conduct does not

violate clearly established statutory or constitutional rights of which a reasonable person would

have known.’” Pearson v. Callahan, 129 S. Ct. 808, 815 (2009) (quoting Harlow v. Fitzgerald,

457 U.S. 800, 818 (1982)). Defendants assert that the law regarding the use of a weapon by a

police officer to injure or kill a citizen’s pet was not clearly established when Defendant Scherffius

shot at Plaintiff’s dogs, killing one of them. His argument appears to be based solely on the fact

that the leading case on this issue, Andrews v. City of West Branch, Iowa, 454 F.3d 914, 918 (8th

Cir. 2006), was not decided until September 1, 2006, well after the alleged events at issue took

place on September 25, 2004. This argument is not persuasive. At the time of the incident in

question, and for many years prior thereto, the right of a person to be free from unreasonable

searches and seizures was well established. See U.S. Const. amend. IV; Graham v. Connor, 490

                                                  25
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 26 of 29 PageID #: 615




U.S. 386, 395 (1989). Further, it is well established that a dog or other pet is considered to be

property subject to protection under the Fourth Amendment. See Lesher v. Reed, 12 F.3d 148,

150-51 (8th Cir. 1994). Thus, it is clear that the law regarding the unreasonable seizure of pets

was well established at the time of the incident in question and Defendants’ argument must fail.

        However, this Court cannot completely resolve the issue of qualified immunity at this

time. With respect to Plaintiff’s unreasonable seizure claim, as with Plaintiff’s excessive force

claim, Plaintiff has set forth a set of facts in direct contradiction to the facts alleged by

Defendants. Under this set of facts, it is possible that Defendant Scherffius engaged in conduct

which violated a clearly established constitutional or statutory right of which a reasonable person

would have known. Thus, the issue of qualified immunity cannot be resolved on summary

judgment. See Arnott v. Mataya, 995 F.2d 121, 124 (8th Cir. 1993).

        In sum, genuine issue of material fact exist with respect to Plaintiff’s unreasonable seizure

claim against Defendant Scherffius individually. As a result, the Court denies Defendant

Scherffius’s Motion for Summary Judgment with respect to Count III of Plaintiff’s First Amended

Complaint.

        D.      SUPPLEMENTAL STATE LAW CLAIMS (COUNT V)

        Finally, in Court V of her First Amended Complaint, Plaintiff asserts supplemental state

claims of assault and battery against Defendants Scherffius, Bentley, and Gerstenschlager, as

individuals, and against Defendant City of Desloge. Defendants assert that summary judgment is

proper for several reasons: 1) the statute of limitations has run; 2) sovereign immunity shields

Defendant City of Desloge from liability; 3) official immunity shields the individual Defendants;


                                                   26
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 27 of 29 PageID #: 616




and 4) the underlying alleged force did not occur at all. In her Memorandum in Opposition to

Defendants’ Motion for Summary Judgment, Plaintiff recognized that sovereign immunity applies

to Defendant City of Desloge with respect to her state law claims. Therefore, Plaintiff abandoned

her assault and battery claims against Defendant City of Desloge, and the state law claims only

remain against Defendants Scherffius, Bentley, and Gerstenschlager.

        Defendants assert that they are entitled to summary judgment on Plaintiff’s state law

assault and battery claims because the statute of limitations has run. They argue that the two year

limitations period set forth in Mo. Rev. Stat. § 516.140 applies instead of the three year

limitations period set forth in Mo. Rev. Stat. § 516.130. Section 516.130 provides that a three

year statute of limitations applies to “[a]n action against a sheriff, coroner or other officer, upon a

liability incurred by the doing of an act in his official capacity and in virtue of his office, or by the

omission of an official duty.” Section 516.140, on the other hand, provides that a two year

statute of limitations applies to “[a]n action for . . . assault [or] battery.”

        The Court finds that the two year statute of limitations set forth in Section 516.140 applies

to Plaintiff’s assault and battery claims against Defendants Scherffius, Bentley, and

Gerstenschlager. In her First Amended Complaint, Plaintiff specifically stated that she was suing

these Defendants in their individual capacities. (Pl.’s 1st Am. Complaint pg. 1). An action

against an officer in his or her individual capacity does not fall within the parameters of Section

516.130. See Miller County v. Groves, 801 S.W.2d 777, 778-79 (Mo. Ct. App. 1991) (action

brought against public official as an individual not barred by Section 516.130). Thus, Section

516.140’s two year statute of limitations for actions for assault or battery applies. The events at

issue in this case took place on September 25, 2004, and Plaintiff filed her initial Complaint more

                                                    27
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 28 of 29 PageID #: 617




than two years later, on September 20, 2007. Thus, Plaintiff’s assault and battery claims against

Defendants Scherffius, Bentley, and Gerstenschlager are time-barred.

       At this point, it is clear that summary judgment in favor of Defendants is appropriate on

Plaintiff’s assault and battery claims against all Defendants. Thus, the Court need not consider

Defendants’ remaining arguments.

V.     CONCLUSION

       The Court finds that genuine issues of material fact exist with respect to Plaintiff’s claim

of excessive use of force against Defendants Scherffius, Bentley, and Gerstenschlager, as

individuals (Count I). The Court also finds that genuine issues of material fact exist with respect

to Plaintiff’s claim of unreasonable seizure against Defendant Scherffius, as an individual (Count

III). These claims remain before the Court. However, the Court finds that summary judgment in

favor of Defendants is appropriate with respect to Plaintiff’s civil rights claim against Defendant

City of Desloge (Count II) and Plaintiff’s state law claims against all Defendants (Count V).

       Accordingly,

       IT IS HEREBY ORDERED that Defendants’ Motion for Summary Judgment [doc. #50]

is GRANTED in part and DENIED in part. The Court will DISMISS, with prejudice,

Plaintiff’s Count II against Defendant City of Desloge and Plaintiff’s Count V against all

Defendants. Still pending before the Court are Plaintiff’s Count I claims against Defendants

Scherffius, Bentley, and Gerstenschlager, as individuals, and Plaintiff’s Count III claims against

Defendant Scherffius, as an individual.




                                                 28
Case: 4:07-cv-01637-ERW Doc. #: 96 Filed: 04/16/09 Page: 29 of 29 PageID #: 618




       IT IS FURTHER ORDERED that Defendant Bentley, who was found to be in Civil

Contempt of this Court on March 12, 2009, has successfully purged himself of this contempt by

submitting to a deposition by Plaintiff’s attorney. Thus, Plaintiff’s Second Motion to Compel

[doc. #56] is DENIED, as moot. However, the $100.00 sanction against Defendant Bentley

ordered by this Court on January 9, 2009, remains unsatisfied.

       Dated this 16th Day of April, 2009.



                                                    ____________________________________
                                                    E. RICHARD WEBBER
                                                    UNITED STATES DISTRICT JUDGE




                                               29
